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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


 JODIE LOUISE BYRNE,                           )
                                               )
             Plaintiff,                        )
                                               )
 v.                                            )      No. 1:20-cv-00036-GZS
                                               )
 STATE OF MARYLAND, et al.,                    )
                                               )
             Defendants.                       )
                                               )

                          ORDER AFFIRMING THE
               RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


          The United States Magistrate Judge filed with the Court on March 20, 2020, his

Recommended Decision (ECF No. 6). In relevant part, this Decision recommended dismissal of

Plaintiff’s Complaint unless a timely amended complaint was filed containing “an actionable

claim.” (Rec. Dec. at PageID # 168.) On May 4, 2020, Plaintiff made a 104-page filing with the

Court which is titled, “Amended Complaint and Objection to the Recommended Dismissal” (ECF

No. 8).

          I have reviewed and considered the Magistrate Judge’s Recommended Decision, together

with the entire record; I have made a de novo of all matters adjudicated by the Recommended

Decision; and I concur with the recommendations of the United States Magistrate Judge for the

reasons set forth in his Recommended Decision. To the extent that Plaintiff has presented

objections to the Recommended Decision, the Court finds those objections to be without merit and

overrules those objections. To the extent that Plaintiff seeks to have this Court consider her May

4th filing as an Amended Complaint, the Court concludes that the Amended Complaint fails to

state any actionable claim over which this Court would have jurisdiction for the reasons already
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stated in the Recommended Decision.

       1.     It is therefore ORDERED that the Recommended Decision of the Magistrate Judge
              is hereby AFFIRMED.

       2.     It is ORDERED that Plaintiff’s claims as stated in her initial Complaint (ECF No.
              1) and her Amended Complaint (ECF No. 8) are hereby DISMISSED.


                                                  /s/ George Z. Singal
                                                  United States District Judge

Dated this 6th day of May, 2020.
